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                      DISTRICT COURT OF THE VIRGIN ISLANDS
                              DIVISION OF ST. CROIX

__________________________________________
                                          )
UNITED STATES OF AMERICA and              )
PEOPLE OF THE VIRGIN ISLANDS,             )
                                          )
                                          )
            v.                            )               Criminal Action No. 2013-0003
                                          )
                                          )
ELVIN WRENSFORD and                       )
CRAIG MULLER,                             )
                                          )
                  Defendants.             )
__________________________________________)

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                         MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the “Motion in Limine re Prior Conduct,”

filed by the United States of America and the People of the Virgin Islands (the “Government”).

(Dkt. No. 8). This Memorandum Opinion provides the reasons in support of the Court’s March

11, 2015 ruling from the bench in which the Court granted the Government’s Motion.
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                                       I.      BACKGROUND

       In its Motion, the Government seeks an Order permitting it to introduce evidence of prior

conduct by both Defendants, Elvin Wrensford and Craig Muller, in this matter, asserting that

such prior conduct “proves the alleged offense and thus is not Rule 404(b) evidence.” Id. at 1.

Nonetheless, by its Motion, the Government provides notice of its intent to offer evidence of

prior conduct, as follows:

       Less than two hours before the May 10, 2012 shooting incident with which the
       defendants are charged, both of them engaged in an argument with a male
       individual (not the victim) at Ben’s Car wash in Estate Princess, St. Croix, Virgin
       Islands. They followed the male individual as he walked away and continued to
       argue with him. Defendants then left the car wash. Minutes later, the individual
       with whom Defendants were arguing returned to the car wash with Gilbert
       Hendricks, Jr. (the victim). The individual told others at the car wash about the
       argument he had with Defendants and left. Hendricks left as well but returned
       later.

Id. at 1-2. The Government goes on to say that “sometime after Hendricks returned, Defendants

appeared in a red truck, drove to the car wash, and discharged shots at Hendricks as he ran from

them,” and Hendricks died as a result of his gunshot wounds. Id. at 2. The Government contends

that “the shooting incident stemmed from the earlier altercation (i.e., the argument) at the car

wash with an associate of the victim” and the altercation “provided the motive for the shooting

and is part and parcel of the entire event” and therefore admissible. Id.

       During the March 4, 2015 pretrial conference, which included a hearing on the Motion,

the Government provided a more detailed proffer of the evidence that it expected would tie the

argument to the shooting contending, inter alia, that it is relevant background evidence leading

up to the crime. The Government explained that Defendants argued with a Mr. Jackson at the car

wash. After the argument, Jackson left and then returned to the car wash with the victim, Gilbert

Hendricks, Jr. At this point, Jackson accused two individuals there of being the people with



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whom he had the argument. Jackson and Hendricks left the car wash. Hendricks returned to the

car wash alone. A red truck arrived, driving slowly. Hendricks left the car wash and started

running, heading in the same direction as Jackson had earlier left with Defendants following him.

The truck turned around, trapped him, and he was shot.

       Defendants did not file an Opposition to the Government’s Motion. However, at the

March 4, 2015 hearing, they interposed a number of objections, arguing that: (1) having recently

received Jencks material from the Government, the evidence does not show that there was an

argument at the car wash, and any innuendo that there was an argument would be prejudicial; (2)

the Government needs to make a preliminary showing by a preponderance of the evidence that

the argument actually occurred, and the Court must make such a preliminary finding, pursuant to

Huddleston v. United States, 485 U.S. 681 (1988); and (3) if there was an argument, then such an

argument would show that the Defendants had the character trait of aggressivity, which is

inadmissible under Rule 404(b). On March 6, 2015, Defendant Wrensford submitted a post-

hearing memorandum in which he stated that the standard enunciated in Huddleston that the

Government must meet before a court allows admission of Rule 404(b) evidence is not a

preponderance of the evidence, but there must be “sufficient evidence to support a finding by the

jury that the defendant committed the similar act.” (Dkt. No. 213) (quoting Huddleston, 485

U.S. at 685).

                                       II.    DISCUSSION

   A. Applicable Legal Principles

       Under Rule 404(b), “[e]vidence of a crime, wrong, or other act is not admissible to prove

a person’s character in order to show that on a particular occasion the person acted in accordance

with the character.” Fed. R. Evid. 404(b)(1). Nonetheless, such evidence may be admissible to



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prove “motive, opportunity, intent, preparation, plan, knowledge, identity, absence of mistake, or

lack of accident.” Fed. R. Evid. Rule 404(b)(2). Rule 404(b) “is generally a rule of exclusion. It

‘directs that evidence of prior bad acts be excluded—unless the proponent can demonstrate that

the evidence is admissible for a non propensity purpose.’” United States v. Brown, 765 F.3d 278,

291 (3d Cir. 2014) (quoting United States v. Caldwell, 760 F.3d 267, 275 (3d Cir. 2014)).

       “Evidence of other crimes and bad acts” is often divided into “two categories: those

‘extrinsic’ to the charged offense, and those ‘intrinsic’ to it.” United States v. Green, 617 F.3d

233, 245 (3d Cir. 2010). In the Third Circuit, what is considered “intrinsic” is to be “understood

narrowly. Evidence is only intrinsic if it ‘directly proves the charged offense’ or if it is an

‘uncharged act[ ] performed contemporaneously with the charged crime. . . [and committed to]

facilitate the commission of the charged crime.’” United States v. Johnson, 578 F. App’x 150,

156 (3d Cir. 2014) (quoting Green, 617 F.3d at 249). Intrinsic evidence is not subject to a Rule

404(b) analysis. Id.

       “[E]vidence of other crimes and bad acts” that falls outside the scope of narrowly defined

“intrinsic” evidence is deemed extrinsic and must be analyzed under Rule 404(b). Green, 617

F.3d at 245, 249. To be admissible under Rule 404(b), extrinsic evidence must be:

       (1) offered for a proper non-propensity purpose that is at issue in the case; (2)
       relevant to that identified purpose; (3) sufficiently probative under Rule 403 such
       that its probative value is not outweighed by any inherent danger of unfair
       prejudice; and (4) accompanied by a limiting instruction, if requested.

Caldwell, 760 F.3d at 277-78 (citing Huddleston, 485 U.S. at 691-92).

   B. Analysis

       The Government has offered two theories under which evidence of the prior argument is

admissible: (1) the argument was “part and parcel” of the entire event and is relevant background

evidence, and, as such, does not come under the purview of Rule 404(b); and (2) even if it is

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considered Rule 404(b) evidence, the argument shows motive and is admissible pursuant to that

non-propensity purpose.

       Courts that analyze whether evidence of a defendant’s prior actions are admissible under

Rule 404(b) are typically confronted with a defendant’s prior crimes or uncharged bad acts. See

United States v. Seraphin, __ F. App’x __, 2015 WL 364136, at *2 (3d Cir. Jan. 29, 2015)

(“Under Rule 404(b), the Government can’t offer evidence of a defendant’s bad acts to impugn

his character or suggest he has a penchant for committing certain crimes.”); United States v.

Duran, 563 F. App’x 174, 178 (3d Cir. 2014) (“Rule 404(b) prohibits introduction of evidence of

prior crimes or bad acts to prove a person’s character to show that on a particular occasion the

person acted in accordance with the character.”) (internal quotation marks omitted); Caldwell,

760 F.3d at 277 (analyzing whether defendant’s “prior bad act evidence” is more probative or

prejudicial); United States v. Washington, 543 F. App’x 171, 179 (3d Cir. 2013) (examining

whether “evidence of uncharged crimes or wrongs” is admissible under Rule 404(b)). A

determination is made as to whether those prior bad acts constitute inadmissible evidence of

character, or are admissible for non-propensity purposes under the Rule subject to an analysis of

probative value and prejudice.

       In the instant matter, the Court first considers whether the fact that Defendants may have

engaged in an argument prior to the shooting presents, in the context here, the kind of

circumstance that is contemplated and encompassed by Rule 404. In the Court’s view, the verbal

altercation does not constitute “prior crimes or other bad acts,” Green, 617 F.3d at 249, or

“[e]vidence of a crime, wrong, or other act . . . [that] prove[s] a person’s character,” Fed. R.

Evid. 404(b)(1), so as to implicate Rule 404(b) for purposes of the charged murder/firearms

offenses. In other words, Defendants’ participation in a non-physical argument prior to the



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shooting, without more, does not support an inferential leap that they have a particular character

trait—such as a violent character—so as to infer that they acted in accordance with that character

in committing the murder and firearms crimes charged. Cf. Lewis v. Velez, 149 F.R.D. 474, 483

(S.D.N.Y. 1993) (discussing a person’s “aggressive disposition” in context of previous assault

convictions, and excluding those convictions because they “skirt[ed] too close to the

impermissible suggestion that the [party] had a propensity toward violence and acted in

conformity with his aggressive predisposition”). As the Third Circuit has noted: “[T]he purpose

of Rule 404(b) is ‘simply to keep from the jury evidence that the defendant is prone to commit

crimes or is otherwise a bad person, implying that the jury needn’t worry overmuch about the

strength of the government’s evidence.’” Green, 617 F.3d at 249 (quoting United States v.

Taylor, 522 F.3d 731, 735-36 (7th Cir. 2008)).

       Under the circumstances here, the evidence of an argument lacks the character-defining

feature that is critical to the underlying purpose of Rule 404(b). Indeed, the Court has found no

analogous cases where an argument, unrelated to any physical altercation that would constitute a

bad act, has been interpreted as reflecting a particular character trait so as to come within the

purview of Rule 404(b). Cf. Prater v. City of Phila., 2012 WL 3930063, at *4 (E.D. Pa. Sept. 7,

2012) (analyzing whether defendant’s prior arrests and bad acts for, inter alia, aggravated

assault, “create an inference that he has an aggressive and hostile character”); United States v.

Grosh, 2009 WL 1307207, at *2 (D. Md. Apr. 29, 2009) (examining whether defendant’s prior

assault charge for “aggressively forcing four people to the ground at gunpoint” could also prove

intent or motive under Rule 404(b)); Giles v. Rhodes, 2000 WL 1425046, at *10 (S.D.N.Y. Sept.

27, 2000) (assessing argument that prisoner’s disciplinary record, where some infractions relate

to “violent behavior or disobedience,” would demonstrate only that he was a “person of bad and



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aggressive character who acted in conformity with that character”). Accordingly, the Court

concludes that evidence of an argument under the circumstances here does not implicate Rule

404.

        Even if the evidence of an argument is deemed to constitute “prior crimes or other bad

acts,” Green, 617 F.3d at 249, or is otherwise character evidence thereby implicating Rule

404(b), the Court finds that the evidence is admissible for a non-propensity purpose and thus is

not excluded by Rule 404(b). Specifically, evidence of the argument provides relevant

background information that “aids understanding by ‘complet[ing] the story’” of the charged

crime, id. at 245, and sets the context for the unfolding events. Green instructed that “other

crimes” background evidence or evidence that “completes the story” is properly analyzed under

Rule 404(b), and will routinely be deemed admissible for that legitimate non-propensity purpose.

See id. at 249 (noting that most, if not all “other crimes” evidence admitted as background will

be admitted under the Third Circuit’s approach to Rule 404(b)). 1

        Further, this background evidence is relevant in helping to explain the circumstances

leading up to the commission of the crime. Evidence is relevant if it “has any tendency to make a

fact more or less probable than it would be without the evidence.” Fed. R. Evid. 401(a). This

definition is “very broad.” Gibson v. Mayor & Council of City of Wilmington, 355 F.3d 215, 232

(3d Cir. 2004). Not only is the evidence relevant, but it passes muster under Rule 403. The

Government’s proffer of the argument provides a narrative of events leading up to the shooting

and helps to place the shooting in context. The probative value of this evidence is not

“substantially outweighed” by the danger of any purported unfair prejudice—which remains



1
  The Government asserted—and, based on its proffer, the Court agrees—that evidence of the
argument is also admissible under Rule 404(b) for the non-propensity purpose of showing
motive. (Dkt. No. 8 at 2).
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unclear—so as to require its exclusion under Fed. R. Evid. 403.

        The Court is unpersuaded by Defendants’ contrary arguments. Their first argument is that

the Government’s proffered evidence of an argument is inadmissible because the evidence will

not show that there was an argument at the car wash at all, and any innuendo of an argument will

be prejudicial. The Court disagrees. If the evidence shows there was no argument, then there are

no acts that can be attributed to Defendants prior to the shooting. The strength of the

Government’s proffered evidence of an argument is grist for cross-examination, and the

probative value of that evidence is not substantially outweighed by any purported unfair

prejudice so as to render it inadmissible under Rule 403.

        Defendants’ second argument—that the Supreme Court opinion in Huddleston requires

the Court to make a preliminary finding that the argument actually happened—misinterprets the

Huddleston opinion. In fact, the Supreme Court stated that “mandating a preliminary finding by

the trial court that the act in question occurred not only superimposes a level of judicial oversight

that is nowhere apparent from the language of that provision [Rule 404(b)], but it is simply

inconsistent with the legislative history behind Rule 404(b).” Huddleston, 485 U.S. at 688.

Wrensford’s argument that a preliminary finding by the Court is required is therefore mistaken. 2

        Finally, Defendants’ third contention—that if there was an argument, then such an

argument would show that the Defendants had the character trait of aggressivity and is therefore

inadmissible—is unpersuasive. As noted earlier, the Court does not consider the Government’s

proffered evidence of an argument to be “character” or “similar act” evidence. Moreover, even



2
  Any challenge to the sufficiency of the evidence that a defendant committed an allegedly
similar act, for purposes of submitting the evidence to the jury, is triggered by a motion to strike
the evidence at the close of the trial by the objector. Huddleston, 485 U.S. at 690 n.7. This all
assumes, of course, that “similar act” evidence is at issue here—a proposition with which the
Court disagrees.
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assuming that Rule 404(b) applies, there is, as previously discussed, a legitimate non-propensity

purpose for which the evidence is offered.

       In sum, the Court finds that evidence of a prior argument does not implicate Rule 404(b)

at all. Even if it did, such evidence is admissible for a non-propensity purpose—i.e., as relevant

background information that “aids understanding by ‘complet[ing] the story’” of the charged

crimes. Green, 617 F.3d at 245.

                                             ORDER

       UPON CONSIDERATION of the Government’s “Motion in Limine re Prior Conduct,”

Defendants’ arguments raised at the March 4, 2015 hearing on the Motion, and in accordance

with the Court’s ruling from the bench on March 11, 2015, it is hereby

       ORDERED that the Government’s “Motion in Limine re Prior Conduct” is GRANTED.

(Dkt. No. 8).

       SO ORDERED.

Date: March 26, 2015                                               _______/s/_______
                                                                   WILMA A. LEWIS
                                                                   Chief Judge




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